         Case 1:19-mc-00145-TSC Document 319 Filed 11/19/20 Page 1 of 8




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 In the Matter of the
 Federal Bureau of Prisons’ Execution
 Protocol Cases
                                                             Case No. 19-mc-0145 (TSC)
 LEAD CASE: Roane, et al. v. Barr
 THIS DOCUMENT RELATES TO:
 Roane, et al. v. Barr, No. 05-2337



              DEFENDANTS’ OPPOSITION TO PLAINTIFF
         ORLANDO HALL’S MOTION FOR A STAY OF EXECUTION
       Plaintiff Orlando Hall seeks reconsideration of this Court’s denial of injunctive relief as to

his Federal Food, Drug, and Cosmetic Act (“FDCA”) claim—a denial the D.C. Circuit affirmed

just yesterday—and moves for a stay of execution pending that reconsideration. Despite this

Court’s order that any such motion for expedited relief be filed by 4 p.m. on November 18, 2020,

Hall waited until past 10 p.m. to file the motion, noting that that the D.C. Circuit did not issue the

mandate until nearly 4 p.m. But Hall did not need the mandate to be issued to prepare or file his

motion. Nor did he seek an extension of time from this Court. Hall’s disregard of the Court’s

deadline prejudices both this Court and Defendants and highlights again the impropriety of such

last minute motions.

       In any event, his motion for a stay of execution has no merit, for several reasons. First, his

request that the Court “stay his execution so that it can reconsider its irreparable harm findings”

related to his FDCA claim is foreclosed by Dunn v. McNabb, 138 S. Ct. 369 (2017), which held

that it is improper to stay an execution for the purpose of further fact-finding and without the

requisite showing of a “significant possibility of success on the merits.” Id. Second, Hall’s request

that this Court enter an injunction pending reconsideration of its irreparable harm findings is barred

by the mandate rule because the D.C. Circuit considered the same irreparable harm arguments Hall

now makes and affirmed this Court’s denial of injunctive relief on Hall’s FDCA claim. Indeed,

Hall does not even attempt to satisfy the standard for reconsideration, let alone explain why he is
         Case 1:19-mc-00145-TSC Document 319 Filed 11/19/20 Page 2 of 8




entitled to keep relitigating an issue that was determined by this Court and upheld by the D.C.

Circuit. Finally, the equities strongly counsel against issuance of an injunction for the reasons

stated in Defendants’ Opposition to Plaintiff’s Motion to Stay Pending Appeal, which Defendants

incorporate herein. See ECF No. 311 at 13-14. Accordingly, the Court should deny Hall’s motion

to stay execution. 1

                                          ARGUMENT

        This Court is familiar with the standard for reviewing a motion for a stay of execution. A

stay of execution is an equitable remedy that “‘must take into consideration the [government’s]

strong interest in proceeding with its judgment.’” Nelson v. Campbell, 541 U.S. 637, 649 (2004)

(quoting Gomez v. U.S. Dist. Ct. for N. Dist. of Cal., 503 U.S. 653, 654 (1992) (per curiam)).

“[L]ike other stay applicants, inmates seeking time to challenge the manner in which the [the

government] plans to execute them must satisfy all of the requirements for a stay, including a

showing of a significant possibility of success on the merits.” Hill v. McDonough, 547 U.S. 573,

584 (2006). In addition “the traditional stay inquiry calls for assessing the harm to the opposing

party and weighing the public interest,” two factors that “merge” where, as here, the government

is the opposing party. Nken v. Holder, 556 U.S. 418, 435 (2009).

        Hall cannot satisfy the above stringent standard for three primary reasons:

        First, without a showing that the injunctive relief factors have been met, the Court may not

enter an injunction in order to reconsider its irreparable harm findings. The Supreme Court

addressed this situation in Dunn v. McNabb, 138 S. Ct. 369 (2017). In that case, a condemned

state inmate with a scheduled execution sought a stay of his execution. The district court refused

to enter a “traditional stay of execution” because it determined that the evidence was “roughly in

1
 Hall is correct that the D.C. Circuit stated that “the district court should have ordered the
protocol set aside only to the extent that it permits the dispensing and administration of
pentobarbital without a prescription.” In the Matter of the Fed. Bureau of Prisons’ Execution
Protocol Case, No. 20-539 at 22 (D.C. Cir. Nov. 18, 2020) (D.C. Cir. Op.”). But, as Hall
recognizes, Mot. at 6, the government made clear in the D.C. Circuit that, absent an injunction, it
would be free to proceed with the scheduled executions even if the protocol were set aside to that
extent, and the D.C. Circuit still did not issue injunctive relief.


                                                 2
           Case 1:19-mc-00145-TSC Document 319 Filed 11/19/20 Page 3 of 8




equipoise at this stage, which is to say, disputed.” Grayson v. Dunn, No. 2:12-CV-0316-WKW,

2017 WL 4638594, at *4 (M.D. Ala. Oct. 16, 2017), vacated sub nom. McNabb, 138 S. Ct. at 369.

The court nevertheless stayed the execution under the All Writs Act because there was “insufficient

time prior to [the execution date] to address deliberatively the full panoply of weighty, life-

involved issues presented.” Id. The Supreme Court vacated the injunction because it was not

supported by a finding that that the inmate had a “significant possibility of success on the merits.”

McNabb, 138 S. Ct. at 369. McNabb therefore forecloses Hall’s request that his execution be

stayed so that the Court could reconsider its irreparable harm findings.

        Second, Hall’s request for injunctive relief is foreclosed by the D.C. Circuit’s opinion

holding that this Court “was correct to deny the entry of a permanent injunction [on Hall’s FDCA

claim].”    D.C. Cir. Op. at 24.       The D.C. Circuit explained that this Court “specifically

found . . . that ‘the evidence in the record does not support Plaintiffs’ contention that they are likely

to suffer flash pulmonary edema while still conscious.’” Id. (quoting ECF No. 261 at 39). The

D.C. Circuit also noted that “Plaintiffs have not identified before the district court or this court any

other type of irreparable harm that would likely be suffered due to the unprescribed use of

pentobarbital.” Id. at 25. Nothing has changed. Accordingly, under the mandate rule, this Court

is bound by the D.C. Circuit’s holding and should deny Hall’s motion on this basis alone. See

Indep. Petroleum Ass’n of Am. v. Babbitt, 235 F.3d 588, 596-97 (D.C. Cir. 2001) (“Under the

mandate rule,” a “more powerful version of the law-of-the-case doctrine,” “‘an inferior court has

no power or authority to deviate from the mandate issued by an appellate court.’”) (quoting Briggs

v. Pa. R.R. Co., 334 U.S. 304, 306 (1948)).

        Hall contends that the Court should reconsider its irreparable harm determination because

that determination was purportedly based on a misreading of Lee v. Barr, No. 20A8 at 3, 591 U.S.

__ (2020). Hall relies on Judge Pillard’s dissent on this point. See Mot. at 10 (quoting D.C. Cir.

Op. at 28 (Pillar, J., concurring in part and dissenting in part)). But the fact that Judge Pillard

dissented on this ground underscores that the majority had already considered the precise argument

Hall now raises and affirmed this Court’s refusal to grant Hall an injunction on his FDCA claim.


                                                   3
         Case 1:19-mc-00145-TSC Document 319 Filed 11/19/20 Page 4 of 8




Hall does not provide any explanation how this argument would allow him to evade the D.C.

Circuit’s mandate, or even to meet the standards for reconsideration, see Fed. R. Civ. P. 60(b),

which Hall does not address in his motion. Rather, Hall appears to proceed on the extraordinary

assumption that he can simply relitigate his claim whenever he wishes to make new arguments or

continue pressing his old ones. And in any event, his objections are meritless, as demonstrated by

the D.C. Circuit’s disposition of them after the parties briefed the issue at length both in this Court

and in the Court of Appeals. As Defendants fully demonstrated, this Court’s irreparable harm

findings were correct and in no way tainted by its discussion of Lee. Rather, the Court held an

evidentiary hearing “to make credibility assessments,” ECF No. 261 at 37, heard testimony from

the parties’ experts, and carefully reviewed the evidence, before concluding that Plaintiffs’ attempt

to discredit the government’s experts at that hearing proved largely “unsuccessful[].” ECF No.

261 at 38.

       Third, the equities weigh against issuing injunction at this late stage. The Supreme Court

has repeatedly warned against last-minute injunctions in the death penalty context, including in

this case, see Lee v. Barr, No. 20A8 at 3, 591 U.S. __ (2020) (“Last-minute stays’ like that issued

this morning ‘should be the extreme exception, not the norm.”) (citation omitted). This case is not

an extreme exception. Far from it. There is nothing in the current record or procedural posture of

this case that distinguishes it from any of the prior executions. In July, the Supreme Court vacated

this Court’s FDCA-based preliminary injunction without a noted dissent, allowing the executions

of Wesley Purkey and Dustin Honken to proceed. Barr v. Purkey, No. 20A10, 2020 WL 4006821

(U.S. July 16, 2020). In August, the D.C. Circuit vacated this Court’s FDCA-based permanent

injunction, allowing the execution of Keith Nelson to proceed. In the Matter of the Fed. Bureau

of Prisons’ Execution Protocol Case, No. 20-5260 (D.C. Cir. Aug. 27, 2020) (per curiam). And

in September, BOP carried out the executions of William LeCroy and Christopher Vialva after this

Court held an evidentiary hearing on the irreparable harm issue and determined that plaintiffs had

not carried their burden to warrant an injunction. A last-minute stay is similarly unwarranted now.




                                                  4
        Case 1:19-mc-00145-TSC Document 319 Filed 11/19/20 Page 5 of 8




       Further, as Defendants explained when opposing Hall’s prior motion for a stay pending

appeal, the other equity factors also weigh against a stay. See ECF No. 311. Defendants

incorporate by reference those arguments here. In particular, Hall has already been afforded ample

opportunity to present his claims in this Court and in the Court of Appeals. Having failed to obtain

relief through such proceedings, he should not be afforded a stay of execution at this point. Hall’s

motion for a stay should be denied.




 Respectfully submitted,

 JEFFREY BOSSERT CLARK                               MICHAEL R. SHERWIN
 Acting Assistant Attorney General                   Acting United States Attorney

 JEAN LIN                                            DANIEL F. VAN HORN, D.C. Bar #924092
 Special Litigation Counsel                          Chief, Civil Division

 JONATHAN KOSSAK, D.C. Bar #991478                   By: /s/ Johnny Walker
 CRISTEN C. HANDLEY, MO Bar #69114                   JOHNNY H. WALKER, D.C. Bar #991325
 BRADLEY P. HUMPHREYS,                               Assistant United States Attorney
   D.C. Bar #988057                                  555 4th Street, N.W.
 Trial Attorneys                                     Washington, District of Columbia 20530
 Federal Programs Branch                             Telephone: 202 252 2575
 Civil Division, Department of Justice               Email: johnny.walker@usdoj.gov
 1100 L Street, N.W.                                 Counsel for Defendants
 Washington, District of Columbia 20005
 (202) 514-3716
 jean.lin@usdoj.gov
 jonathan.kossak@usdoj.gov
 christen.handley@usdoj.gov
 bradley.humphreys@usdoj.gov

 Dated: November 19, 2020




                                                 5
    Case 1:19-mc-00145-TSC Document 319 Filed 11/19/20 Page 6 of 8




                           CERTIFICATE OF SERVICE

       I hereby certify that on November 19, 2020, I caused a true and correct copy of

foregoing to be served on all following counsel of record via the Court’s CM/ECF system.
 Joshua C. Toll                              Ginger D. Anders
 King & Spalding LLP                         Jonathan S. Meltzer
 (202) 737-8616                              Brendan Gants
 jtoll@kslaw.com                             Munger, Tolles & Olson LLP
                                             (202) 220-1100
 Margaret O’Donnell
                                             ginger.anders@mto.com
 (502) 320-1837
 mod@dcr.net                                 Counsel for Plaintiff Brandon Bernard
 Counsel for Plaintiff Anthony Battle


 Alex Kursman                                Scott W. Braden
 Shawn Nolan                                 Arkansas Federal Defender Office
 Federal Community Defender Office,          (501) 324-6114
 E.D. Pa.                                    Scott_Braden@fd.org
 (215) 928-0520                              Jennifer Ying
 alex_kursman@fd.org                         Andrew Moshos
 shawn_nolan@fd.org                          Morris, Nichols, Arsht & Tunnell LLP
 Counsel for Plaintiff Alfred Bourgeois      (302) 658-9300
                                             jying@mnat.com
                                             amoshos@mnat.com
                                             Counsel for Plaintiff Norris G. Holder, Jr.


 Joseph Luby                                 Amy Lentz
 Federal Community Defender Office,          Steptoe & Johnson, LLP
 E.D. Pa.                                    (202) 429.1320
 (215) 928-0520                              alentz@stepoe.com
 joseph_luby@fd.org
                                             Counsel for Plaintiff Orlando Hall
 Counsel for Plaintiff Chadrick Fulks
   Case 1:19-mc-00145-TSC Document 319 Filed 11/19/20 Page 7 of 8




Shawn Nolan                                   Gregory S. Smith
Federal Community Defender Office,            (202) 460-3381
E.D. Pa.                                      gregsmithlaw@verizon.net
(215) 928-0520
shawn_nolan@fd.org                            Counsel for Plaintiff William LeCroy
Counsel for Plaintiff Dustin Higgs


Jon Jeffress                                  Donald P. Salzman
KaiserDillon PLLC                             Charles F. Walker
(202) 640-2850                                Steven M. Albertson
jjeffress@kaiserdillon.com                    Skadden, Arps, Slate, Meagher & Flom
                                              LLP
Timothy Kane
                                              (202) 371-7983
Shawn Nolan
                                              donald.salzman@skadden.com
Federal Community Defender Office,
E.D. Pa.                                      Counsel for Plaintiff Corey Johnson
(215) 928-0520
timothy_kane@fd.org
shawn_nolan@fd.org
Counsel for Plaintiff Dustin Lee Honken


David S. Victorson                            Shawn Nolan
Hogan Lovells US LLP                          Federal Community Defender Office,
(202) 637-5600                                E.D. Pa.
david.victorson@hoganlovells.com              (215) 928-0528
                                              shawn_nolan@fd.org
Pieter Van Tol
Hogan Lovells US LLP                          Gary E. Proctor
(212) 918-3000                                Law Offices of Gary E. Proctor, LLC
pieter.vantol@hoganlovells.com                (410) 444-1500
                                              garyeproctor@gmail.com
Counsel for Plaintiff Daniel Lewis Lee
                                              Counsel for Plaintiff Jeffrey Paul




                                          2
   Case 1:19-mc-00145-TSC Document 319 Filed 11/19/20 Page 8 of 8




Gerald W. King, Jr.                             Alan E. Schoenfeld
Jeffrey Lyn Ertel                               Ryan M. Chabot
Federal Defender Program, Inc.                  Wilmer Cutler Pickering Hale and Dorr
(404) 688-7530                                  LLP
Gerald_King@fd.org                              (212) 230-8880
Jeff_Ertel@fd.org                               Alan.Schoenfeld@WilmerHale.com
                                                Ryan.Chabot@WilmerHale.com
Brandon D. Almond
Troutman Sanders LLP                            Andres C. Salinas
Washington, D.C. 20004                          Wilmer Cutler Pickering Hale and Dorr
(202) 274-2864                                  LLP
brandon.almond@troutmansanders.com              (202) 663-6289
Counsel for Richard Tipton, III                 Andres.Salinas@WilmerHale.com
                                                Counsel for Wesley I. Purkey


Dale A. Baich                                   Amy Karlin
Jennifer M. Moreno                              Interim Federal Public Defender
Federal Public Defender                         Celeste Bacchi
District of Arizona                             Jonathan C. Aminoff
(602) 382-2816                                  Deputy Federal Public Defenders
dale_baich@fd.org                               (213) 894-2854
jennifer_moreno@fd.org                          celeste_bacchi@fd.org
Counsel for Plaintiff Keith Nelson              Counsel for Plaintiff Julius O. Robinson


Paul F. Enzinna                                 Evan Miller
Ellerman Enzinna PLLC                           Vinson & Elkins LLP
(202)753-5553                                   (202) 639-6605
penzinna@ellermanenzinna.com                    emiller@velaw.com
Counsel for Plaintiff James H. Roane, Jr.       Counsel for Bruce Webster




                                                 /s/Johnny Walker
                                                Assistant United States Attorney
                                                Counsel for Defendants




                                            3
